         Case 8:04-cr-00069-SDM-E_J Document 66 Filed 08/12/05 Page 1 of 6 PageID 173
A 0 215B (Rev 12/03) Sheet 1 -Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGhIENT IN A CRIMINAL CASE

                                                              CASE NUMBER:        8:04-cr-69-T-23EA.I
                                                              USM NUMBER:         34039-179
VS.


LUIS GALLEGOS
                                                              Defendant's Attorney: Ronald J. Kurpirrs, 11, cja

THE DEFENDANT:

X pleaded guilty to count ONE of the Indict~nent.
-

TITLE & SECTION                    NATURE O F OFFENSE                                    OFFENSE ENDED             COUNT

21 U.S.C. 5s 816 and               Conspiracy to Possess With Intent to                  2002                      ONE
84 1(b)(l)(B)(vii)                 Distribute Marijuana


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restimtion, the defendant shall notify the court and United States Attorney of any material change in econonlic
circumstances.


                                                                                Date of lniposition of Sentence: August 11, 2005




                                                                                    STEVEN D. hlERRYDAY                            \
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: August      in,     2005
           Case 8:04-cr-00069-SDM-E_J Document 66 Filed 08/12/05 Page 2 of 6 PageID 174
A 0 245B (Rev 12/03) Sheet 2    - lmprisonnirnt
Defendant:           LUIS GALLEGOS                                                                          Judgment - Page 2 of
Case No.:            8:03-cr-69-T-23EAJ



                The defendant is hereby committed to the cusrody of the Unilcd States Bureau of Prisons to be
imprisoned for a total term of SIXTY (60) MONTHS.




-
X The court makes the following recommentlations to the Bureau of Prisons: confinement as near to Los Angeles, California
as possible.



-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          - at    a.1n.1p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by rhe Bureau of Prisons.

               before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to

at                                                                        , with a certified copy of this judgment.



                                                                                         United States Marshal


                                                                        Deputy Marshal
          Case 8:04-cr-00069-SDM-E_J Document 66 Filed 08/12/05 Page 3 of 6 PageID 175
A 0 245B (Rev. 12103) Sheer 3 - Supervised Release
Defendant:         LUIS GALLEGOS                                                                 Judgment - Page 3of 6
Case No.:          8:04-cr-69-T-23EAJ

                                                       SUPERVISED RELEASE

         Upon release from imprisonment. the defendant shall be on supervised release for a term of SIXTY (60) hiOhTHS.

        The defendant shall report to the probation oftlce in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the dekndant shall not commit another federal, state, or local crime, and shall not possess a
fireann, arnrnunition, or destructive device as defined in 18 U.S.C. 4 921.

         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
          with the Schedule of Payments sheet of this judgment.

          The defendant shall cornply with the standard conditions that have been adopted by this courl as well as with any additional
          conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not lcavc the judicial district without the permission of the court or probation officer:

          the defendant shall report to thc probation officer and shall submit a truthful and complete written rcport within the first fivc days
          of each month;

          the dcfcndant shall answcr truthfully all inquiries by thc probation officcr and follow the instructions of the probation officcr;

          the defendant shall support his or her dcpendents and mcct other family rcsponsibilitics;

          the dcfcndant shall \vork regularly at a lawful occupation, unless excused by the probation officcr for schooling, training, or othcr
          acceptablc reasons:

          the defendant shall notify the probation officcr at least tcn days prior to any changc in residence or employment;

          the defendant shall refrain from excessive use of alcohol and shall not purchase. posscss, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, exccpt as prescribed by a physician;

          the defendant shall not frcqucnt placcs where controlled substances arc illegally sold, used, distributed. or administered:

          the defendant shall not associate with any pcrsons engaged in criminal activity and shall not associate with any pcrson convictcd
          of a felony. unlcss grantcd permission to do so by thc probation officcr:

          the dcfcndant shall pcrnlit a probation officer to visit him or her at any timc at homc or elsewhcrc and shall permit confiscation of
          any contraband observcd in plain view of the probation officer:

          the defendant shall notify the probation officer within seventytwo hours of being arrcsted or questioned by a law enforcement
          officer:

          the defendant shall not enter into any agreement to act as an informcr or a special agent of a law cnforcement agcncy without the
          permission of rhe court:
          as directed by thc probation officcr, the defendant shall notify third panies ofrisks that may be occasioned by the dcfcndant's criminal
          record or pcrsonal history or charac~eristicsand shall permit the probation officcr to makc such notifications and to confirm thc
          defendant's compiiancc with such notilication requircmcnt.
         Case 8:04-cr-00069-SDM-E_J Document 66 Filed 08/12/05 Page 4 of 6 PageID 176
A 0 245B (Rev. 12103) Sheet 3C - Supervised Release

Defendant:        LUIS GALLEGOS                                                             Judgrncnr - Page 4 of 6
Case No.:         8:01-cr-69-T-23EXJ
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:


-
X        Defendant shall perform 150 hours of community service.
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A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

 Defendant:         LUIS GALLEGOS                                                          Judgment - Page 5 of 6
 Case No.:          8:04-cr-69-T-23EN

                                         CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                         -
                                                               Fine                        Total Restitution

         Totals:            $100.00                            $ waived                    $


-        The deternlination of restitution is deferred until -.         An Anierzded Judgment in a Crintirtal Case ( A 0 245C) will
         be entered after such determination.
-        The defendant musr make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defelldant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa ment colunln below. However, pursuant to 18 U.S.C. 5
         3664(i). all non-federal victims must be paid before the ifniled States.
                                                                                                             Priority Order or
                                                "Total                     Amount of                         Percentage of
Name of Pavee                                 Amount of Loss            Restitution Ordered                  Pavment




                            Totals:          L                          S

-        Restitution amount ordered pursuant lo plea agreement $
-        The defendant shall pay inrerest on any fine or restitution of more than $2,500. unless the restitution or fine is paid in fill
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. Q3612(f). All of the payment options on Sheet
         6 may be subject to penalties for delinqucncy and default, pursuant to 18 U.S.C. Q 3612(g).
-        The court determined that the defendant does nor have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - fine      - restitution.
        -          the inwest requirement for the - fine - restirution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
committed on or after September 13. 1994. but before April 23, 1896.
         Case 8:04-cr-00069-SDM-E_J Document 66 Filed 08/12/05 Page 6 of 6 PageID 178
A 0 2458 (Rev 12/03) Sheer 6 - Schedule of Payments

Defendant:        LUIS GALLEGOS                                                            Judgment - Page 6of 6
Case No.:         8:Wr-69-T-23EAJ


                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X Lump sun1 payment of $ 100.00 due immediately, balance due
                            -not later than                    , or

                            -in accordance - C, - D, - E or - F below; or
B.       -         Payment to begin immediately (may be combined with -C, -D. or -F below): or
C.       -        Payment in equal                 (e.g., weekly, monthly, quarterly) installments of S             over a
                  period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment: or
D.       -        Payment in equal                ( e . ~ . weekly,
                                                            ,       monthly. quarterly) installments of S             over a
                  period of             , (e.g., mont 1s or years) to commence                     (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision: or
E.       -        Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -         Special insrructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment imposes a period of im risonment, payment of criminal
         i                              b                             9
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the clerk o e court.         ex
monetar penalties is due during im risonment. All crimina monetary penalties, except lose a ments made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) asscssmcnt, (2) rcstirulion principal, (3) restilution interest, (4) tine principal.
(5) community restitution, (6) fine interest (7) penalties, nnd (8) costs, including cost of prosecution and court cosrs.
